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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                       Unredacted Copy – Filed Under Seal

                            -against-                                  17 Cr. 273 (S-1) (FB)

 RUSLAN MIRVIS,

                                                     Defendant.

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                   RUSLAN MIRVIS’S SENTENCING MEMORANDUM




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 Dated:            Brooklyn, New York
                   September 25, 2024
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A. Introduction

       Ruslan Mirvis addresses the following issues related to his appropriate sentence. Mr.

Mirvis was charged in a two-count indictment with sexual exploitation of a child and receipt of

child pornography. The charges concern Mr. Mirvis’s solicitation of sexual images and acts

from children over Facebook during a three-month period in 2017.

       “This is one of those cases in which calculations under the Sentencing Guidelines lead to

a result so patently unreasonable as to require the Court to place greater emphasis on other

sentencing factors to derive a sentence that comports with federal law.” United States v.

Adelson, 441 F. Supp. 2d 506 (S.D.N.Y. 2006). Mr. Mirvis respectfully requests that the Court

impose a sentence of ten years, the mandatory minimum, under the Court’s authority under 18

U.S.C. § 3553(a) to achieve those ends. Since his arrest, Mr. Mirvis, a man with no criminal

record, has grappled with deep regret for his actions. It is critical to recognize that he has not

shied away from the gravity of his crimes. He acknowledges and accepts full responsibility for

the harm he has caused. This memorandum will discuss the nexus between Mr. Mirvis’s offense

conduct and his childhood. The middle son of a family of refugees who’d fled from what was

then the Soviet Union, Mr. Mirvis struggled alone with intellectual developmental impairments,

which were then compounded by years of                    and its related trauma. As a result, Mr.

Mirvis grew up emotionally stunted in many ways and had difficulty understanding social norms

and regulating his impulses. However, in highlighting these aspects of Mr. Mirvis’s life, we aim

to show how he has sought treatment, discussion, and therapeutic resources where available, to

come to terms and learn from the crimes that have brought him before the Court today.
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       Mr. Mirvis writes in his letter to the Court: “I hurt the victims of my crimes terribly. They

are not responsible for what I did to them. I hope they all continue to heal. I am so sorry for

what I did to them.” See Mr. Mirvis’s letter to the Court at Exhibit 1.

       As of the date of this submission, Mr. Mirvis has been detained for 89 months.

Authorities arrested him on a complaint in April 2017 for a violation of 18 U.S.C. §§ 2251 and

2251(e), with sexual exploitation of children, and then indicted him in May 2017 for the same

offense in addition to receipt of child pornography in violation of 18 U.S.C. §18 U.S.C. §

2252(a)(2), 18 U.S.C. § 2252(b)(1). See Doc. Nos. 1 and 8.

       In December 2021, Mr. Mirvis pled to a superseding information charging him with a

violation of New York State Penal Law § 263.15 and 18 U.S.C. § 2422(b), for using the internet

to induce an individual who had not attained the age of 18 years to engage in sexual activity for

which a person could be charged with a criminal offense, specifically, promoting a sexual

performance by a child, which carries a mandatory minimum of 10 years. See Doc. No. 51. This

is significant because the indictment carried a 15-year mandatory minimum.

       During Mr. Mirvis’s incarceration, he has been physically and                       ,

extorted, and threatened. Indeed, an inmate recently physically assaulted him. Currently housed

in Essex County Correctional Facility and previously housed in MDC Brooklyn, Mr. Mirvis has

spent most of his detention in protective custody, confined to his cell for up to 23 hours a day.

During his stay at MDC Brooklyn, which overlapped with the COVID-19 pandemic, Mr.

Mirvis’s serious medical needs were ignored until eventually, he had to be hospitalized.

       Given the nature of his crimes, as outlined in the Presentence Report, there is no denying

that Mr. Mirvis engaged in abhorrent, inexcusable behavior. With no criminal history, Mr.

Mirvis’s conduct seemed to arise out of nowhere. A quiet 34-year-old, Mr. Mirvis spent most of




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his time in a cluttered Midwood apartment, attending to the needs of his parents who both

suffered serious physical and psychological ailments.

         However, as the reports of forensic pathologist Dr. N.G. Berrill, Ph.D. and mitigation

specialist, Anna Bulkin, MSW make clear, Mr. Mirvis had been silently struggling most of his

life. See Exhibits 2 and 3 (under seal). The reports detail developmental and intellectual

impairments, social difficulties, and                   The reports describe how at a particularly

vulnerable age, and during a time when his family was fully preoccupied with other matters, Mr.

Mirvis                                                    While Mr. Mirvis’s life experiences

certainly do not excuse his criminal conduct, we believe it provides valuable context to the

Court.

         Further, Mr. Mirvis’s letter to the court shows his recognition of the substantial emotional

damage he caused the victims and their families. Certainly, no apology can take away their pain

and distress, but Mr. Mirvis is sorry and wishes he could repair the damage he caused.

         In sentencing Mr. Mirvis, we ask the Court to consider mitigating factors that support a

sentence of 10 years. Those factors, discussed in the submission and detailed in the expert

reports, include his intellectual developmental challenges,

                                                           ; the aberrant nature of his conduct

compared to his otherwise law-abiding life; the particularly harsh treatment he received during

his lengthy period of pretrial detention;

                                            ; and the tremendous efforts he’s made to improve

himself while in custody.

         We will address this combination of factors and legal arguments regarding Mr. Mirvis’s

18 U.S.C.§ 3553(a) factors. We believe that they demonstrate that the Court does not need to




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impose a guideline sentence, or the Probation Office’s recommended sentence of 300 months in

custody, to deter Mr. Mirvis or send a message to society regarding his conduct but instead

provide a pathway towards his rehabilitation.

B.      Mr. Mirvis’s Background and Characteristics

        Information relating to Mr. Mirvis’s background and characteristics are discussed in the

Presentence Report, his letter to the Court, his letters of support, medical records, certificates and

transcripts, and the defense’s psychosexual evaluation and mitigation report.1 The following

draws from those materials, information he has asked counsel to retell, and other items as noted.

        Mr. Mirvis is a 41-year-old Jewish man born in Odessa, Ukraine in what was then the

Union of Soviet Socialist Republics. He is the second of three sons born to Marina Yudkiss and

Mikhail Mirvis. His older brother Alex was also born in the Soviet Union, while his younger

brother Richard was born in the United States. Mr. Mirvis has an older half-sister by his father.

        Ukrainian Jews in the Soviet Union, including the Mirvis family, were subjected to

pronounced anti-semitism and repression. In 1989, thousands left Ukraine for the United States

as part of a larger exodus of Jews from the Soviet Union. This period was a significant moment

in history, as it followed the policies of Glasnost and Perestroika. Once in the United States, Mr.

Mirvis and his family lived with extended family in Brighton Beach, Brooklyn. From Brighton

Beach, they moved to an apartment building in Kensington. Mr. Mirvis’s parents were focused

on surviving and settling into their new lives. Marina did not speak English. She cleaned

houses. She hoped to be certified as a nurse but had to start as a nurse’s assistant before

becoming a medical assistant. Mikhail worked installing alarms, and then as a supervisor in a

1
 See Exhibits 1 (Mr. Mirvis’s letter to the Court); 2 (Defendant’s Psychosexual Evaluation – Under Seal); 3
(Defendant’s Mitigation Report – Under Seal); 4 (Family and Friend’s Letters of Support); 5 (Inmate Letters of
Support); 6 (Medical Reports – Under Seal); 7 (Government’s November 28, 2020 letter to the Court re:
Cooperation – Under Seal); 8 (Certificates and Transcripts); 9 (Defendant’s Charitable Donations and
Correspondence) and 10 (Government’s February letter to the Court re: Inmate Assault – Under Seal).


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factory located in Jersey City. Later, he worked singing in Russian restaurants and in an elder

care center before he started to lose his vision due to macular degeneration, and had to stop

working and collect disability. Over the years, Mr. Mirvis’s parents’ relationship fell apart and

they were separated for some time.

       Mr. Mirvis’s parents enrolled him in a yeshiva school, but it was too expensive, so they

switched him to a public school. According to the New York City Board of Education,

Elementary School Cumulative Record, he began the first grade in January 1990 at P.S. 253,

when he was 7 years old in an English as a second language class. Records indicate that, by

1992, he was getting remedial math help, and, in 1993, he was referred for speech therapy.

       In 4th grade, Mr. Mirvis transferred to P.S. 179. While Mr. Mirvis recalled liking music

and art in elementary school, in all his academic classes he received “Needs Improvement”. As

Mr. Mirvis stated, “I was in a special ed. I had speech problems, and I was afraid to speak up in

school. I blocked out a lot of what happened. But I was bullied by other kids and they used to

make fun of me. So eventually I just stopped going…. I was always just trying to fit in.”

       While Mr. Mirvis was still in elementary school, Marina was diagnosed with breast

cancer, which eventually went into remission. A few years later,

                                       At the same time, Mr. Mirvis’s older brother Alex left

home at 18 and joined the Army and was only home sporadically. Mr. Mirvis recalls, “I felt like

I was raising myself.” Mr. Mirvis had few friends. In junior high school at I.S. 223, Mr. Mirvis

cut school regularly. School records show he had failing grades. In 8th grade, Mr. Mirvis began

delivering pizzas, missing more and more school.

       In Kensington, Mr. Mirvis became close with the maintenance man for the building,

Gerald Gondre. When Gondre learned Mr. Mirvis was skipping school instead of telling his




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parents, he had Mr. Mirvis work with him around the building. Gondre introduced him to

marijuana and ecstasy, as well as alcohol, which Mr. Mirvis started to use regularly.




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       Despite his failing grades, Mr. Mirvis began high school at the Franklin Delano

Roosevelt High School. According to Franklin Delano Roosevelt High School records, he failed

his 9th grade year but was again promoted to the 10th grade. In 1998, at age 15, he began the 10th

grade but soon dropped out.

       No longer in school, Mr. Mirvis got his first restaurant job. Mr. Mirvis worked at several

different restaurants, including the Stage Deli and Angelo and Max’s Steakhouse. He learned

how to cook and found that cooking calmed him and made him feel good about himself. At 17,

Mr. Mirvis briefly lived with a friend before returning home. When Mr. Mirvis was 18, his

family moved to Midwood, Brooklyn. They had a larger apartment, and, for around five years,

at least 12 people lived in it, including Mr. Mirvis’s extended family. From 1999 to 2005, Mr.

Mirvis worked for Metro Kitchen, a company that built and installed kitchen cabinets. He then

went back to working at restaurants, starting for three years at Kosher Delight and then at

Gourmet on J, where he worked for close to 10 years before it was sold and became Mechy’s

Gourmet. The new owner kept Mr. Mirvis at lower pay and hours while firing many of the staff.

This is why Mr. Mirvis initially started his own event planning company, Mirvis Events.

Although Mr. Mirvis dreamed of success, his limitations kept him from becoming a successful

businessman, and he failed and was sued by a client. This failure coincided with the start of the

present offense: he was “depressed, spiraled, and gave up on everything. I took my anger out on

everyone else and that’s when things happened.”

       Mr. Mirvis has been detained since his arrest in April 2017. He was initially placed at the

MDC. Soon after going to MDC, other inmates extorted hundreds of dollars from him which his

mother had transferred into his commissary accounts, as well as from a bank account belonging

to one inmate’s girlfriend. When Mr. Mirvis could no longer pay, they attacked Mr. Mirvis.




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According to Bureau of Prisons, Health Services records, Mr. Mirvis reported being “[

            ] assaulted multiple times from June to July 2017, in his cell, by 2 other inmates.”

He had three fractures to his ribs.

       Mr. Mirvis was placed in segregated housing during MDC’s investigation of this

incident. While there, he witnessed a cellmate try to kill himself. BOP Medical records contain

an email he sent to psychology staff about both this and the impact on him of waiting for

someone to come help his cellmate.

       On January 3, 2019, Mr. Mirvis was taken to Kingsbrook Jewish Medical Center, where

he had his gallbladder removed. BOP Medical records show that on January 1, 2019, he was

diagnosed with major depressive disorder and post-traumatic stress Disorder, and was placed on

antidepressants and PTSD medication. Towards the end of January 2019, while he was still

recovering from gallbladder surgery, MDC was without power and heat for over a week. There

were multiple reports at the time of the lack of hot water and no hot meals. Mr. Mirvis reported

that he was not getting the medication and the special diet he was on due to his recent surgery.

       MDC did not have a good track record when it came to Mr. Mirvis’s medical treatment.

Aside from the emergency gallbladder surgery, in June 2018, an outside dermatologist ordered a

biopsy of a skin lesion to take place the following week, which did not take place until October

2019. In 2018, Mr. Mirvis had to wait seven months, in pain, for a routine tooth extraction. In

2019, Mr. Mirvis was prescribed two medications known to cause liver damage, which require

monitoring by regular blood tests. Yet, Mr. Mirvis, diagnosed with liver disease, was prescribed

both medications simultaneously for 10 months with no monitoring.

       Despite being housed in the SHU at MDC, Mr. Mirvis participated in every program that

he could access. On June 6, 2019, Dr. De Zayas, a staff Psychologist at MDC, selected Mr.




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Mirvis to be part of the prison’s male suicide watch program, and Mr. Mirvis served in this role

for almost a year. He was recognized with an exemplary service award for being a recreation

aide. He completed card-making and origami classes as part of his training as a recreation aide.

He took advantage of these opportunities at MDC until the COVID-19 pandemic caused the

building to be fully locked down for months, with Inmates staying in their cells for almost 24

hours a day.




       In March 2021, Mr. Mirvis was transferred to the Essex County Correctional Facility in

Newark, New Jersey, where he is held in the Involuntary Protective Custody unit. Until eight

months ago, he was a kitchen orderly/trustee and brought meals to individual cells. This ended




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when he was taken to a different unit by a corrections officer to deliver meals and was attacked

by another inmate who injured his left eye. He is now responsible for collecting, cleaning, and

charging the tablets on the unit. Mr. Mirvis’s unit is in their cells 22 hours a day, but his

responsibilities allow him a little extra time out of his cell.

        In addition to participating in any in-custody program he can, Mr. Mirvis has enrolled in

multiple online programs. He has completed GED classes but has not yet taken the GED tests.

The Aleph Prison Program puts into his commissary and has directly paid for some of his

classes, including the Blackstone paralegal courses. He spends his commissary money on

courses through such organizations as Getting Out by Going In (“GOGI”) and purchasing self-

help books. Through GOGI, he completed a victim impact program to examine cognitive

distortions that he may have. Mr. Mirvis also gets support from two rabbis who visit the jail –

one of whom is associated with the Essex County Correctional Facility, and the other is an

orthodox rabbi.

        Mr. Mirvis’s conduct following his arrest shows his commitment to addressing the

underlying issues that influenced his crimes. Since being arrested, he has actively engaged in

self-reflection, introspection, personal growth, and self-improvement. The letters in support of

Mirvis provided with this submission substantiate this view. Several inmates have written letters

on his behalf, including one from Jonathan Espinal, thanking Mr. Mirvis for saving his life,

which demonstrate Mr. Mirvis’s positive qualities as a helpful and compassionate person. His

brother Alexander writes,

                Your Honor, I implore you to consider the entirety of Ruslan’s
                character and his contributions to our family’s well-being. While
                he may have made mistakes, his heart remains steadfast in its
                commitment to kindness and compassion.

His brother Richard writes:



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              I still believe that my brother deserves a chance to atone and
              reintegrate into society as a productive and morally upright citizen.
              I have faith in his capacity for redemption through participation in
              academic, mental health, and vocational programs.

Mr. Mirvis’s mother writes:

              During his time at MDC Brooklyn and Essex County Correctional
              Facility, Ruslan has been committed to furthering his education
              despite the challenges of incarceration. He has actively pursued
              educational opportunities, demonstrating a strong determination to
              improve himself and acquire new skills. Ruslan has completed
              courses in criminal law and paralegal studies, earning certificates
              through Blackstone Academy. I am so proud and hopeful that
              Ruslan has embraced learning as a means of transformation and
              has shown resilience in being incarcerated.

              Ruslan’s immediate plans for the future are to return home and
              work. However, my true hope is that he finds stability, safety, and
              commitment to self-improvement. He understands the need for
              change, and I am confident in his capacity for growth as my son.
              He will absolutely not be alone on this journey. He has a strong
              support network in myself, his family, and my friends. We are all
              prepared to stand by him, offering unwavering support and
              guidance as he navigates a path toward redemption…. I understand
              the seriousness of Ruslan’s actions, and I am not writing to make
              excuses for him.

              But I ask you to consider the devastating consequences of
              deportation on his life and his ability to make amends to the world.
              With your guidance and the chance to remain in the country, I
              believe Ruslan can work towards redemption, be a part of our
              family again, and become a valuable member of the community.

Finally, Mr. Mirvis writes to Your Honor:

              I am disciplined and committed to growing and not falling
              back. Other inmates call me the “book crusher” because I’m
              always reading. I am committed to regaining the trust I broke with
              society. I know that I deeply hurt my victims, and I want them to
              know they have the power to overcome what I did to them.

C.     Charges and Plea, Offense Conduct and Acceptance of Responsibility

       Mr. Mirvis is a first-time, non-violent offender who accepts responsibility for his

conduct. In December 2021, Mr. Mirvis pled guilty to an information charging him with a


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violation of New York State Penal Law § 263.15 and 18 U.S.C. § 2422(b), for using the internet

to induce an individual who had not attained the age of 18 years, specifically to engage in sexual

activity for which a person could be charged with a criminal offense, specifically, promoting a

sexual performance by a child, which carries a mandatory minimum of 10 years.

       Mr. Mirvis’s conviction carries a minimum of 10 years incarceration and a maximum of

life, 18 U.S.C. § 2422(b), and the term of supervised release is five years to life. 18 U.S.C. §

3583(k).

       The parties and the Probation Office agree that Mr. Mirvis’s guideline level is life. In the

plea agreement and the PSR, Mr. Mirvis’s total offense level is 51 with a criminal history

category of I, which results pursuant to Chapter 5, Part A, as an offense level of 43.

       The Probation Office has recommended a non-guidelines sentence of 300 months of

incarceration and five years of supervised release.

       Mr. Mirvis was chronologically 34-years old when he committed the charged offenses;

however, intellectually, developmentally, and emotionally, he was much younger. He was a

special needs child who never received adequate help. He grew up in a chaotic environment,

raised by parents who, while well-meaning, were too overwhelmed as émigrés and a series of

medical crises and ill-equipped to address – or even recognize – Mr. Mirvis’s need for help.

       Mr. Mirvis’s criminal conduct took place over approximately three months in 2017.

During that period, he created a Facebook account in which he presented himself as a teenage

boy. Using that account, he communicated with adolescent girls and asked them to perform

sexual acts and create and send him sexually explicit pictures and videos of themselves, which

they did, as detailed in the PSR. He did not meet the victims in person. He did not distribute the

images or videos to others. He has no prior criminal convictions and no history of sexual




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misconduct. He employed no efforts to hide his IP address, often logging on to his actual

Facebook account at the same time he logged in to the fake account. And as Dr. Berrill states in

his report,

               At this point in time, he does not impress as someone who poses a
               likely threat to himself or others, nor is he someone who could be
               characterized sexually attracted to minors.

See Exhibit 2 (Under Seal) at p. 16.




        Mr. Mirvis has worked hard at rehabilitation. As mentioned, he has taken numerous

courses, including domestic violence and sexual abuse programs. Mr. Mirvis’s post-arrest

conduct is a mitigating factor regarding his 18 U.S.C. § 3553(a) analysis, which we discuss

infra. Cf. Pepper v. United States, 562 U.S. 476, 492-93 (2011) (reasoning that “postsentencing

conduct also sheds light on the likelihood that he will engage in future criminal conduct . . . [and]

exemplary postsentencing conduct may be taken as the most accurate indicator of ‘his present

purposes and tendencies and significantly to suggest the period of restraint and the kind of

discipline that ought to be imposed upon him.” (internal citation omitted); United States v.

Walker, 252 F.Supp.3d 1269, 1294 (D. Utah 2017) (Twenty years of prison sentences failed to

accomplish the deterrence achieved by a self-motivated defendant and a tough, yet effective

treatment program.”).


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D.     Comments and Objections to the Presentence Report

       By letter, we commented on the Presentence Report to correct and add to identifying

data; personal and family data; and educational, vocational and special skills. See Doc. No. 61.

They do not impact the guidelines. We are not requesting a hearing pursuant to United States v.

Fatico, 603 F.2d 1053 (2d Cir. 1979).

E.     18 U.S.C. § 3553(a)

       We respectfully request that the Court impose a non-guideline sentence of 10 years’

incarceration followed by 5 years of supervised release. This total sentence would be sufficient,

but not greater than necessary, to satisfy the requirements of 18 U.S.C. § 3553(a), considering

Mr. Mirvis’s history and characteristics, the nature of the offense, the need to provide

educational or vocational training, the need for general and specific deterrence, and the need to

avoid sentencing disparities. This Court is not required to impose a sentence based on the

guideline or any Sentencing Commission policy that circumvents Congress’ specific intent for

individualized sentencing. Pepper v. United States, 562 U.S. 476, 501 (2011). Further an

individual assessment that considers Mr. Mirvis’s character and background supports a 10-year

sentence as “sufficient, but not greater than necessary” to achieve the sentencing objectives in

this case. See 18 U.S.C. § 3553(a)(1).

       The guidelines fail to include critical factors about Mr. Mirvis’s background, which

Congress mandated must be included in arriving at the sentence to be imposed. See 18 U.S.C. §

3553. When offenders’ backgrounds and characteristics are ignored, marginalized, or reduced to

second-class status, the goal of informative, individualized sentencing cannot be achieved.

Rather, offenders are left to the mercy of mathematical numbers that arrive at terms of

incarceration with no empirical relationship to either punishment or the causes that brought them

before the court. See generally United States v. Adelson, 441 F. Supp. 2d at 512 (court


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commenting on “the utter travesty of justice that sometimes results from the guidelines’ fetish

with absolute arithmetic, as well as the harm that guideline calculations can visit on human

beings if not cabined by common sense”); Anthony M. Kennedy, Speech at A.B.A. Annual

Meeting (Aug. 9, 2003) (criticizing the guidelines as “too severe” and called for a general,

across-the-board reduction in guidelines sentences).3 But in asking for a variance for Mr. Mirvis,

it is worth deconstructing the Sentencing Commission’s position regarding its mission, as we

believe it shows why the guideline are often so flawed and heavy-handed. See Rita v. United

States, 551 U.S. 338, 352 (2007) (discussing guidelines failure to properly to reflect §3553(a)

considerations).

           The Sentencing Reform Act (“SRA”), enacted in 1984, created the Sentencing

Commission and instructed it to promulgate guidelines that would reconcile the multiple

purposes of punishment while promoting the goals of uniformity and proportionality. See 28

U.S.C. §§ 991(b)(1)(A) and 991(b)(1)(B). That sounds reasonable. And under the SRA, the

Commission was directed that it should “develop a sentencing range that is consistent with the

purposes of sentencing described in section 3553(a)(2) of Title 18, United States Code,” 28

U.S.C. § 994(m), and “establish sentencing policies and practices” that reflect “advancement in

knowledge of human behavior as it relates to the criminal justice process.” 28 U.S.C. §

991(b)(1)(C). That also sounds reasonable.

           However, absent in the Commission’s mission was 18 U.S.C. § 3553(a)(1)’s mandate,

which states that “in determining the particular sentence to be imposed, [the court] shall

consider— (1) the nature and circumstances of the offense and the history and characteristics of

the defendant[.]” Compare 18 U.S.C. § 3553(a) to 28 U.S. Code §§ 991 (United States

Sentencing Commission; establishment and purposes) and 994 (Duties of the Commission).
3
    See https://www.supremecourt.gov/publicinfo/speeches/sp_08-09-03.html.


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       As stated in 28 U.S.C. §§ 991 and 994, the Commission’s purposes and duties are to

support 18 U.S.C. § 3553(a)(2)’s goal: “the need for the sentence imposed….” See 28 U.S.C. §§

991 and 994. Neither code references 18 U.S.C. § 3553(a)(1), which undercuts the

Commission’s purported goal of the “advancement in knowledge of human behavior as it relates

to the criminal justice process.” 28 U.S.C. § 991(b)(1)(C). This omission and strange oversight,

is one of the reasons why the guidelines are so skewed against defendants and why, we submit,

courts are not required to impose a sentence based on them. Pepper v. United States, 562 U.S. at

501.

       This is why courts must be careful to guard against the “unintended anchoring effect that

the [G]uidelines can exert” leading to “irrationally assign[ing] too much weight to the guidelines

range[] just because it offers some initial numbers.” United States v. Ingram, 721 F.3d at 40 n.2

(internal quotation marks and citations omitted); see generally Mark W. Bennett, Confronting

Cognitive “Anchoring Effect” And “Blind Spot” Biases in Federal Sentencing: A Modest

Solution for Reforming a Fundamental Flaw, 104 J. Crim. L. & Criminology 489 (2014).

       That same caution applies here regarding U.S.S.G. § 2G2.2.

       1.      Heavy Handedness of U.S.S.G. § 2G2.2

       In United States v. Dorvee, 616 F.3d 174, 182 (2d Cir. 2010), the Circuit addressed the

automatic and severe Guideline enhancements in child pornography cases, and cautioned that the

enhancement under U.S.S.G. § 2G2.2 is “fundamentally different from most and that, unless

applied with great care, can lead to unreasonable sentences that are inconsistent with what §

3553 requires.” 616 F.3d at 184. The court noted that § 2G2.2 enhancements typically led to

guideline ranges at or beyond the statutory maximum of the underlying offense, “based solely on

sentencing enhancements that are all but inherent to the crime of conviction.” Id. at 187. The




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court further observed that application of the enhancement resulted in virtually “no distinction”

between the sentencing of “the most dangerous offenders” and non-dangerous offenders, who

have little to no criminal history. Id. The concentration of all offenders at or near the statutory

maximum was, according to the court, “fundamentally incompatible with § 3553(a).” 616 F.3d

at 187.

          The court was particularly troubled that § 2G2.2 was not based on empirical data

developed by the Sentencing Commission. Dorvee, 616 F.3d at 186. Sentencing courts

determine the weight owed to the Guidelines by considering the “specialized experience and

broader investigations and information available to the [Sentencing Commission]” as it compares

to the sentencing court’s own technical or other expertise. Dorvee, 616 F.3d at 188. When a

particular enhancement has no empirical support, and therefore “do[es] not exemplify the

Commission’s exercise of its characteristic institutional role,” a sentencing court may conclude

that the Guidelines’ treatment of a particular type of conviction typically yields sentences

“greater than necessary.” Id. (quoting Kimbrough v. United States, 552 U.S. 85, 109-10 (2007)).

See also United States v. Cavera, 550 F.3d 180, 191 (2d Cir. 2008) (en banc) (“a district court

may vary from the Guidelines range based solely on a policy disagreement with the Guidelines,

even where that disagreement applies to a wide class of offenders or offenses”).

          While acknowledging the importance of enforcing federal prohibitions on child

pornography, the court encouraged district courts to exercise the “broad discretion they possess

in fashioning sentences under § 2G2.2 … bearing in mind that they are dealing with an eccentric

Guideline of highly unusual provenance which, unless carefully applied, can easily generate

unreasonable results.” Dorvee, 616 F.3d at 188.




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        The concerns articulated by Dorvee apply here, and we ask for a downward variance.

See, e.g., United States v. Jenkins, 854 F.3d 181, 189 (2d Cir. 2017) (“The concerns we

expressed in Dorvee apply with even more force here and none of them appears to have been

considered by the district court. Jenkins received precisely the same “run-of-the-mill” and “all-

but-inherent” enhancements that we criticized in Dorvee, resulting in an increase in his offense

level from 22 to 35. These enhancements have caused Jenkins to be treated like an offender who

seduced and photographed a child and distributed the photographs and worse than one who raped

a child.”).

        As mentioned, Mr. Mirvis did not meet the victims or distribute the images or videos. He

has no prior criminal convictions and no history of sexual misconduct. His conduct occurred

over three months. So, respectfully, we ask the Court to vary from this guideline based on the

guideline’s unempirical design and unreasonable severity.

           2. Lack of Guidance as a Youth and Similar Circumstances and Socioeconomic
               Status
          There are powerful forces, including parental neglect, unaddressed intellectual

  developmental disabilities, and physical                   , that served to impact Mr. Mirvis’s

  life from an early age as discussed in our experts’ reports. Mr. Mirvis is a now 41-year-old

  man who, while 34 years old at the time of the offense, was intellectually and developmentally

  much younger. Both school and daily functioning were extremely hard for Mr. Mirvis. Except

  for a few months, he never lived independently from his parents. Mr. Mirvis has masked his

  ability and limitations. Masking is behavior that refers to the strategies individuals may

  employ to hide or compensate for their difficulties in intellectual functioning or adaptive

  behavior.




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          His intellectual disability was only compounded by

           Mr. Mirvis experienced “ complex/developmental trauma which relates to abusive or

  threatening conditions sustained over a period of time, usually pertaining to childhood, and

  often occurs in (but is not exclusive to) the context of close relationships, where escape is

  difficult or impossible.” As stated in our mitigation report, research tells us that this type of

  abuse “or adverse childhood experiences (ACEs) can have an impact on the cognitive and

  emotional development of the child.” Mr. Mirvis grew to a man who in many ways was

  emotionally stunted and never sure how to navigate the world.

        As detailed in our mitigation report, Mr. Mirvis was desperate to fit in but struggled in

both friendships and potential romantic relationships. Mr. Mirvis has a pattern of putting others

and their needs ahead of himself with the hope of pleasing either peers or prospective sexual

partners, but he is unable to develop and maintain a healthy relationship. When he was still in the

community, he wanted more than anything to help his parents when they could no longer work

and was embarrassed and ashamed when his attempt to start his own business was such a failure.

Forensic pathologist, Dr. Berrill, noted the WASI-II intelligence quotient test indicated that Mr.

Mirvis achieved a Full Scale IQ of 72, placing him at the 3rd percentile. His Perceptual

Reasoning score was 73, placing him at the 7th percentile and his Verbal IQ was 76, placing him

at the 5th percentile.

        As our expert reports demonstrate,                             of individuals with cognitive

impairments like Mr. Mirvis’s can affect a person’s ability to understand social norms, regulate

impulses, and comprehend the consequences of their actions, which may increase the risk of

engaging in sexually harmful behaviors. However, Mr. Mirvis has shown that he has a true

interest in understanding the root causes behind his behaviors. While the offerings in a detention




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setting are limited, Mr. Mirvis has taken every step to find and engage in as many programs as he

can. On his own, he has considered the impact his actions have had on his victims and how his

trauma history, which he has never previously discussed with anyone, may have played a role in

his actions. Dr. Berrill notes that Mr. Mirvis has clearly benefitted from his concerted efforts to

seek out and participate in his own treatment and recommends that Mr. Mirvis participate in

structured therapeutic programs upon his release from prison.

       While Mr. Mirvis is not blameless, he is not responsible for the circumstances he was

born and raised in, and his developmental limitations growing up. There is an undeniable link

between Mr. Mirvis’s unresolved childhood abuse and his involvement in his offense conduct.

Nevertheless, the guidelines dogmatically assert that such information “[is] not relevant in the

determination of a sentence. See U.S.S.G. § 5H1.10. Accordingly, we respectfully ask the Court

to consider Mr. Mirvis’s background and upbringing in applying a variance for him. See

discussion United States v. Bannister, 786 F. Supp. 2d 617, 688-89 (E.D.N.Y. 2011) (“Had the

defendants been raised by cohesive, adequate families, most of the difficulties they encountered

would probably never have come to pass. Well-resourced, attentive parents would have had the

knowledge, ability, and insight to protect their children from many of the difficulties that befell

these defendants in their youth, to obtain assistance to deal with their psychological and physical

problems, and to obtain crucial opportunities for education, work, and personal growth. Even

those with learning disabilities would likely have been provided available resources to overcome

their impairments at public expense. That the defendants were born into circumstances without

such support is at the center of this tragedy.”). See also United States v. McBride, 511 F.3d

1293, 1298 (11th Cir. 2007) (“About Defendant’s own history, the district court also said that the

Defendant ‘has perhaps one of the worst histories that I have seen since being on the bench,




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being essentially abandoned by his family and then consistently abused.’ We cannot conclude

that the district court committed clear error in judgment in determining that a sentence

considerably less than the Sentencing Guidelines’ recommended range was appropriate.”); and

Santosky v. Kramer, 455 U.S. 745, 789 (1982) (“It requires no citation of authority to assert that

children who are abused in their youth generally face extraordinary problems developing into

responsible, productive citizens.”).

       Post Booker, we can acknowledge that safe environments, resources, and expertise add to

a person’s prosperity and potential, but an individual lacking the same can be subverted and

diverted from who they can become or fail when tested by adversity. This common sense is at

the core of individualized sentencing. This is perhaps the guidelines’ most significant flaw – its

dogmatic disavowal of reality, embedded in U.S.S.G. § 5H1.12, which states, “Lack of guidance

as a youth and similar circumstances indicating a disadvantaged upbringing are not relevant

grounds in determining whether a departure is warranted.” This begs the question: How much

trust should we put in a sentencing scheme that ignores how reality operates?

       Courts do not sentence fictional villains or caricatures, but people.

       Moreover, the following discussion of Mr. Mirvis’s background and characteristics is not

an excuse for his conduct, but it is properly offered as a basis for a variance. As Supreme Court

case law and statutory authorities clarify, mitigation evidence is not permitted or presented as an

excuse or justification for engaging in criminal conduct but rather for mitigating the length of a

sentence or type of punishment to be imposed. See Lockett v. Ohio, 438 U. S. 586 (1978), Abdul

Kabir v. Quarterman, 550 U.S. 233, 246 (2007); see also, 18 U.S.C. § 3661 and 21 U.S.C. § 850.

As Justice O’Connor noted in her concurring opinion in California v. Brown, 479 U.S. 538

(1987), evidence about offenders’ backgrounds and character is relevant because of the belief,




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held by this society, that people who commit criminal acts that are attributable to disadvantaged

backgrounds, or emotional and mental problems, may be less culpable for sentencing purposes

than those who have not had such experiences. Id. at 545.

           3. Physical and Mental Conditions, Drug or Alcohol Dependence, and Age

       Pursuant to 18 U.S.C. § 3553(a)’s mandate, sentencing courts must consider the need to

provide medical care or other treatment to offenders. Even the guidelines expressly recognize a

defendant’s medical condition “may be relevant in determining whether a departure is warranted,

if, individually or in combination with other offender characteristics, it is present to an unusual

degree and distinguishes the case from the typical cases covered by the guidelines.” See

U.S.S.G. § 5H1.4; see, e.g., United States v. Rioux, 97 F.3d at 663 (2d Cir. 1996) (upholding

district court’s conclusion that, in combination, defendant’s medical condition and charitable and

civic good deeds warranted downward departure). See also United States v. Martin, 363 F.3d 25,

49-50 (1st Cir. 2004) (upholding departure when BOP had policy of not administering the only

medication successful in treating defendant’s Crohn’s disease); United States v. Gee, 226 F.3d

885, 902 (7th Cir. 2000) (finding no abuse of discretion where district court concluded BOP’s

letter stating its ability to handle medical conditions of all kinds was merely a form letter and that

imprisonment posed a substantial risk to the defendant’s life).

       Mr. Mirvis has faced serious health issues, including gallbladder removal, skin biopsies,

tooth extraction, and being diagnosed with liver disease, and, respectfully, this Court should

consider Mr. Mirvis’s medical needs. See United States v. D.W., 198 F. Supp. 3d 18, 23

(E.D.N.Y. 2016); Davis v. Ayala, 135 S. Ct. 2187, 2209 (2015) (Kennedy, J., concurring)

(calling for heightened judicial scrutiny of the projected impact of jail and prison conditions on a

defendant); United States v. Carty, 264 F.3d 191, 196 (2d Cir. 2001); and United States v.




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Jenkins, 854 F.3d 181, 186 n.2 (2d Cir. 2017) (“Although no one knows with any certainty how

long Jenkins will live, we do know that, as a statistical matter, the life expectancy of an

incarcerated person drops significantly for each year of incarceration. See Evelyn J.

Patterson, The Dose-Response of Time Served in Prison on Mortality: New York State, 1989-

2003, 103 Am. J. of Pub. Health 523, 526 (2013).”).

       Moreover, Mr. Mirvis struggles with trauma and cognitive issues, which must be

considered, as they provide context for understanding his actions and current state of health and

justify a downward variance. Cf. United States v. Ventrilla, 233 F.3d 166, 168 (2d Cir. 2000)

(Discussing downward departure from the sentencing range on the ground of diminished

capacity pursuant to U.S.S.G. § 5K2.13); United States v. Walter, 256 F.3d 891, 893 (9th Cir.

2001) (“On appeal, defendant challenged his 41-month sentence, asserting he was not a serious

threat to the president, and that the court should have considered his history of abuse and

diminished capacity, denying a downward departure under U.S. Sentencing Guidelines Manual §

5K2.13. The court of appeals reversed with instructions to the district court to hold an

evidentiary hearing. It found the psychological effects of childhood abuse facially

‘extraordinary,’ and potentially warranted downward departure.”); and United States v. Risse, 83

F.3d 212, 214 (8th Cir. 1996) (“The government cross-appeals the district court’s downward

departure at sentencing based on Risse’s diminished capacity caused by posttraumatic stress

disorder. We affirm on both issues.”); United States v. K, 160 F. Supp. 2d 421, 425-26 (E.D.N.Y.

2001) (discussing diminished capacity and post-arrest conduct in determining sentence for

mentally disabled defendant); and United States v. Ventrilla, 233 F.3d 166, 168 (2d Cir. 2000)

(discussing downward departure from the sentencing range on the ground of diminished capacity

pursuant to U.S.S.G. § 5K2.13).




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         A 10-year sentence, with therapy for Mr. Mirvis’s trauma and cognitive issues, followed

by five years of supervised release where he continues to receive therapy, as well as monitoring,

and other rehabilitation programming under supervision will allow Mr. Mirvis to contribute to

society.

         Additionally, as a teenager, Mr. Mirvis experienced drug abuse, which he overcame. He

would nevertheless welcome drug treatment. While drug or alcohol dependence or abuse is not

necessarily relevant under the guidelines, see U.S.S.G. § 5H1.4, an effort to end drug or alcohol

dependence through rehabilitation is a factor to consider as it shows that he is capable of

growth. United States v. Maier, 975 F.2d 944, 948 (2d Cir. 1992) (the Second Circuit held that

the awareness of one’s drug dependence “and the demonstrated willingness to act to achieve

rehabilitation, thereby benefiting the individual and society,” is a reason for an adjustment).

Accordingly, we respectfully ask the Court to consider this as a mitigating sentencing factor and

recommend to the Bureau of Prisons that Mr. Mirvis receive drug and alcohol treatment while

incarcerated.

         Furthermore, Mr. Mirvis’s age is also relevant since, generally, older people are less

likely to commit further offenses. See United States v. Lucania, 379 F.Supp.2d 288, 297

(E.D.N.Y. 2005) (“post-Booker courts have noted that recidivism is markedly lower for older

defendants.”). In this context, the imposition of a prison sentence is unlikely to provide any

more deterrent effect because Mr. Mirvis’s age militates against the likelihood of recidivism.4




4
 See U.S. SENTENCING COMM’N, The Effects of Aging on Recidivism Among Federal Offenders, (December
2017) (demonstrating the strong influence age exerts on recidivism – older offenders are substantially less likely to
recidivate after release than younger offenders who had served similar sentences, regardless of the length of
sentence imposed.), https://www.ussc.gov/research/research-reports/effects-aging-recidivism-among-federal-
offenders.




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               4. Work History, Future Employment, Collateral Consequences

       Mr. Mirvis has a strong work history. While an offender’s employment record, under the

guidelines, is discouraged as a factor, see United States v. Jagmohan, 909 F.2d 61, 65 (2d Cir.

1990), it is a valid consideration, here, as a variance, as it demonstrates Mr. Mirvis’s law-abiding

character. This is positive evidence that Mr. Mirvis is worthy of this Court’s trust that he will

live a law-abiding life. Mr. Mirvis is fully aware of the challenges he will face in rebuilding his

life, including being a registered sex offender. His conviction will significantly affect his future

employment and self-sufficiency prospects. He will lose the right to vote, run for public office,

serve on a jury, and the right to keep and bear arms. We respectfully request the Court to

consider these consequences in line with the guidance provided by § 3553(a). See United States

v. Stewart, 590 F.3d 93, 141 (2009) (“It is difficult to see how a court can properly calibrate a

‘just punishment’ if it does not consider the collateral effects of a particular sentence.”); and

United States v. Gaind, 829 F. Supp. 669, 670 (S.D.N.Y. 1993) (“The court determined that

because of the destruction of defendant’s business, the necessity for achieving the purposes of

sentencing through sentencing itself had been reduced. The court held that the destruction

achieved in part the purposes of the sentence itself.”).

       Mr. Mirvis is specifically deterred from any further criminal conduct given the severe

collateral consequences he faces, in combination with his own characteristics.

               5. Exceptional Acceptance of Responsibility, Sincere Contrition, Aberrant
                  Behavior, and Rehabilitation

       While incredibly serious, Mr. Mirvis’s offense conduct is an aberration in his life. His

letter to the Court demonstrates his sincere contrition and personal growth and that the goals of

individual and general deterrence will be met in this case by sentencing him to 10-years’ custody

followed by five years of supervision. See United States v. Reyes, 9 F.3d 275, 280 (2d Cir. 1993)



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(In determining whether the defendant has accepted responsibility for the full scope of the

offense, the district court has the discretion to weigh a defendant’s candor and remorse) (citing

United States v. Cousineau, 929 F.2d 64, 69 (2d Cir. 1991) (denial of § 3E1.1 reduction proper

where district court determined defendant “had not shown remorse or acknowledged the

wrongfulness of the conduct for which he was convicted”). See discussion United States v. Paul,

561 F.3d 970, 972 (9th Cir. 2009) (“In vacating the 16-month sentence, the court held that

defendant's case did not fall within the ‘heartland’ of cases to which the U.S. Sentencing

Guidelines were most applicable. The court also found mitigating factors indicating that the

sentence was unreasonably high, including the fact that defendant was a first-time offender and

displayed remorse.”); United States v. Hadash, 408 F.3d 1080, 1081 (8th Cir. 2005) (“The court

affirmed the downward departure as reasonable because it was based on the 18 U.S.C.S. §

3553(a) factors, which the district court listed to justify the departure and which included the

nature of the offense, defendant’s history as a law-abiding citizen who did a dumb thing, the

need for correctional treatment, and a conclusion that defendant was not the type of defendant

the guidelines were designed to punish.”); United States v. Kathman, 490 F.3d 520, 521 (6th Cir.

2007) (“The Government argued that the district court erred in awarding a two-level reduction

for acceptance of responsibility under U.S. Sentencing Guidelines Manual § 3E1.1 and that the

downward variance from the advisory guideline range of 41-51 months was substantively

unreasonable. The court held that the district court did not clearly err in finding that defendant

demonstrated acceptance of responsibility under the circumstances.”); United States v. Autery,

555 F.3d 864, 876 (9th Cir. 2009) (“Moreover, as a further deterrent, the district court threatened

that if Autery violated any of the conditions of his probation, he would ‘be back before me and

receive the maximum penalty allowed by law.’ It is said that there is nothing like being




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sentenced to hang in the morning to focus a man’s thoughts, and it is improbable that the district

court’s stern warning will be an ineffective deterrent in this case.”).

       Mr. Mirvis has undergone psychosexual evaluations, spoken with our mitigation

specialist, worked in many prison jobs, and enrolled in numerous classes and programs. See

Exhibit 2 (Defendant’s Psychosexual Evaluation – Under Seal), 3 (Defendant’s Mitigation

Report – Under Seal), and 8 (Defendant’s Certificates and Transcripts). Mr. Mirvis also

regularly corresponds with people and organization about life and his recovery, including Jewish

Prisoner, Sexaholics Anonymous, Compassion Prison Project, Just Detention International, and

the American Bible Academy. See Exhibit 9. Mr. Mirvis also enjoys expressing himself

through art, and we have attached a drawing of his to this submission at Exhibit 11.

       Importantly, Mr. Mirvis writes to the Court and his victims:

               This prosecution presented me with a choice to grow as a person. I
               have worked hard over the past years to learn and improve myself.
               I took courses and programs in domestic violence and sexual
               abuse, had discussions with forensic psychologist Dr. N.G. Berrill
               about my crimes and sexuality, and discussed my life with social
               worker Anna Bulkin. I saw how I had become accustomed to
               wearing a fake mask and smile, suppressing what was broken in
               me. This made growing up even harder. I felt alienated. I couldn’t
               focus on school and didn’t have many friends. I didn’t believe I
               deserved to be loved, get married, or raise a family. I felt
               inadequate and worthless. As an adult, I broke off relationships
               with good women because I thought their futures would be brighter
               without me. I eventually became angry at the world and myself.

               I’m committed to not hurting anyone in the future. While in prison,
               I’ve taken hundreds of hours of professional, developmental, and
               vocational courses and programs. I’ve read self-help books,
               participated in 12-step sex addiction programming, corresponded,
               and met with clergy. I have given to charities, including victims of
               domestic violence, school shootings, and sexual abuse. At the
               Metropolitan Detention Center, in Brooklyn, I worked on the
               suicide watch, as a recreational aide, and taught inmates to draw.
               At the Essex County Correctional facility, I’ve worked as a porter
               and a legal representative, helping inmates in the law library, and



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                 have been responsible for handing out computers and tablets to
                 inmates.

                                             *    *   *

                 I am committed to regaining the trust I broke with society. I know
                 that I deeply hurt my victims, and I want them to know they have
                 the power to overcome what I did to them.

See Exhibit 1.

       Given Mr. Mirvis’s post-arrest conduct and remorse, a substantial downward variance is

warranted. See discussion United States v. Flowers, 983 F. Supp. 159, 160 (E.D.N.Y. 1997)

(discussing methods to evaluate defendant’s rehabilitation); Pepper v. United States, 562 U.S.

476 (discussing likelihood that offender will engage in future criminal conduct is a central factor

that district courts must assess when imposing sentence); and United States v. Pallowick, 364 F.

Supp. 2d 923, 930 (E.D. Wis. 2005) (“I further concluded that sending defendant to prison for a

lengthy period of time would not aid in his rehabilitation and might actually hinder the progress

he made in counseling.” (citing18 U.S.C. § 3553(a)(2)(D)).

       As Dr. Berrill describes in his report, Mr. Mirvis, despite the many challenges he has

faced while incarcerated,                                                     and extorted by

gang members, is working hard to change his life, as well as his perspective as it pertains to his

sexuality, sexual conduct and involvement in the instant offense. As noted above, Dr. Berrill

observes that Mr. Mirvis has benefited from his concerted effort to participate in a number of

self-help programs, as well as participate in a 12-step program to address his past sexual

misconduct, and has concluded: “At this point in time, he does not impress as someone who

poses a likely threat to himself or others, nor is he someone who could be characterized sexually

attracted to minors.” See Exhibit 2 (Under Seal) at p. 16.




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               6. Charity and Good Works

       Mr. Mirvis has contributed to charities and been involved in good works at his facilities,

including suicide watch. He has worked as a recreational aide and in victim support programs

for domestic violence, school shootings, and sexual abuse. He regularly donates to food banks

and disaster assistance. See Exhibit 9. The guidelines provide that good works and charitable

service “are not ordinarily relevant in determining whether a departure is warranted.” See

U.S.S.G. § 5H1.11. However, even before Booker, as concerning all such discouraged grounds,

sentencing judges could properly depart based on a defendant’s public service and good works if




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such circumstances are present to an exceptional degree, so this Court can vary downward based

on 18 U.S.C. §3553(a), which we ask the Court to do for Mr. Mirvis. See United States v.

Canova, 412 F.3d 331, 358-59 (2d Cir. 2005) (variance approved where defendant served in

Marine Corps for six years, was a volunteer firefighter for seven years, helped deliver three

babies, and acted as a Good Samaritan on three distressful occasions in which others present

were rendered helpless); United States v. Huber, 462 F.3d 945 (8th Cir. 2006) (affirming three-

level reduction where defendant had loaned money to neighbor and fellow farmers in need,

saving farms from foreclosure, and helped finance the start up and continuation of businesses in

local community); United States v. Cooper, 394 F.3d 172 (3d Cir. 2005) (downward departure

affirmed for a defendant who organized a youth football team in a depressed urban area,

mentored the boys, and paid for one of the boys to go to college; these were not detached acts of

charity but hands-on personal sacrifices, which must have had a dramatic and positive impact on

the lives of others); United States v. Serafini, 233 F.3d 758 (3d Cir. 2000) (affirming downward

departure where defendant, a state legislator, had engaged in acts of personal kindness and good

works that were “above and beyond” customary politics or charitable giving); United States v.

Woods, 159 F.3d 1132 (8th Cir. 1998) (defendant paid for others to attend a private school, and

both had graduated and become productive members of society); United States v. Jones, 158

F.3d 492 (10th Cir. 1998) (upholding departure based in part on defendant’s long history of

community service and his strong support in the community, even among family of the victim).

F.     Harsh Conditions of Confinement

       The full force of a guidelines sentence is not merited because of the conditions of

confinement that Mr. Mirvis has faced while being detained since 2017, including the entirety of




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the COVID-19 pandemic. As this Court is aware, the conditions he and other inmates endured

were unusually harsh and exceeded the normal loss of liberty inherent in pretrial detention.

       Beginning in March 2020, the MDC imposed exceptional restrictions to prevent the

transmission of COVID-19 in the jail. These include repeated and prolonged periods of 24-hour

lockdowns. At various points during the pandemic, including for several month-long stretches

during peak COVID transmissibility, such as the Omicron wave, Mr. Mirvis was only allowed

out of his cell for several hours a week. Those times were his only opportunities to engage in

recreation and showering. The institution’s food offerings were reduced to cold baloney

sandwiches and bruised fruit, and the jail drastically curtailed the commissary provisions he

could order to supplement the jail’s meager fare. Finally, Mr. Mirvis has had less access to

educational or vocational programming to better himself, which is why he has relied on

correspondence courses.

       In recognition of the excessively punitive conditions of pretrial detention during and after

the COVID-19 pandemic, judges in the Eastern and Southern Districts of New York have

granted leniency to defendants, even in serious cases like this. These courts have acknowledged

that the unusual harshness of incarceration diminishes the retributive or deterrent need for a

guidelines sentence. They have also imposed terms of imprisonment that are substantially less

than the bottom of the defendants’ advisory ranges.

       This approach is consistent with the leniency fellow judges in this and the Southern

District have shown to defendants detained during the pandemic, especially during its first year

and then again during the Omicron wave, when the jail’s restrictions were particularly severe.

See, e.g., United States v. Brown, No. 20-cr-460 (NGG) (E.D.N.Y. Mar. 11, 2022) (imposing 96

months in serial armed robbery case where bottom of guidelines range was 262 months); United




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States v. Clark, No. 20-cr-241 (NGG) (E.D.N.Y. May 7, 2021) (imposing 96 months in armed

robbery case where bottom of guidelines range was 114 months); United States v. Narcissi, No.

20-cr-449 (RPK) (E.D.N.Y. Mar. 15, 2021) (imposing time-served sentence of 7 months, where

guidelines range was 24-30 months); United States v. Colon, No. 15-cr-317 (MKB) (E.D.N.Y.

Nov. 20, 2020) (imposing 18 months, consecutive to defendant’s 18-month state sentence, where

bottom of guidelines was 100 months); United States v. Shi, No. 19-cr-451 (PKC) (E.D.N.Y.

Nov. 2, 2020) (imposing no prison where guidelines range was 12-18 months); United States v.

Piper, No. 18-cr-008 (AMD) (E.D.N.Y. June 25, 2020) (imposing time-served sentence on

resentencing where defendant had served approximately 24 months and bottom of guidelines

range was 63 months). See also, e.g., United States v. Searles, No. 19-cr-381 (GBD) (S.D.N.Y.

Mar. 25, 2021) (imposing 48-month sentence in Hobbs Act robbery case where bottom of

guidelines range was 120 months); United States v. Soto, No 19-cr-903 (KMW) (S.D.N.Y. Mar,

19, 2021) (imposing 60-month sentence where bottom of guidelines range was 120 months);

United States v. Marmolejo, No. 20-cr-1 (JSR) (S.D.N.Y. Feb. 3, 2021) (imposing 18-month

sentence where bottom of guidelines range was 87 months); United States v. Almonte, No. 19-cr-

621 (RA) (S.D.N.Y. Jan. 14, 2021) (imposing 15-month sentence where bottom of guidelines

range was 51 months); United States v. Garcia, No. 19-cr-593 (PAC) (S.D.N.Y. Dec. 3, 2020)

(imposing 48-month sentence where bottom of guidelines range was 110 months); United States

v. Camacho, No. 19-cr-389 (CM) (S.D.N.Y. Nov 19, 2020) (imposing time-served sentence

where bottom of guidelines range was 57 months); United States v. Paulino, No. 19-cr-607

(AJN) (S.D.N.Y. Oct. 21, 2020) (imposing time-served sentence where bottom of guidelines

ranges was 27 months); United States v. Cirino, No. 19-cr-323 (JSR) (S.D.N.Y. July 21, 2020)

(imposing 10-month sentence where bottom of guidelines range was 57 months); United States v.




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Aracena de Jesus, No. 20-cr-19 (PAE) (S.D.N.Y. July 1, 2020) (imposing time-served sentence

where bottom of guidelines range was 30 months).

       A below-guidelines sentence would be in keeping with the lenity fellow judges in the

Eastern and Southern Districts have bestowed to defendants detained during the pandemic.

G.     Deportation

       Another reason justifying a variance is that Mr. Mirvis is subject to deportation

apparently to Ukraine, a country he is not a citizen of and has no connection. See 8 U.S.C. §

1101(a)(43)(J); and 8 U.S.C. § 1227(a)(2)(iii) (“Any alien who is convicted of an aggravated

felony at any time after admission is deportable.”). In the sentencing context:

               Critical to the determination of an appropriate sentence is the
               likelihood that [a] defendant will be deported as a result of his
               conviction. As discussed … this basic fact is relevant to each of
               the Section 3553(a)(2) factors.

               Even without a lengthy term of incarceration, [a] defendant will be
               adequately punished for his wrongdoing by his expulsion from the
               United States. He will be transported to a foreign country … to
               which he has no meaningful connection. He will be separated
               from his [family]; from his friends; and from the only community
               he has known throughout his teenage and adult life.

United States v. Chong, 2014 U.S. Dist. LEXIS 135664, at *32-33 (E.D.N.Y. 2014). This

rationale applies to Mr. Mirvis, and is an appropriate factor justifying a downward variance.

H.     Conclusion

       We respectfully urge the Court to vary from the Guideline range based on the 18 U.S.C. §

3553(a) factors set forth in this memorandum and impose a sentence of 10-years’ incarceration

and five years supervised release. This is a significant penalty that amply punishes Mr. Mirvis

for his offense conduct, maintains and encourages respect for the administration of justice, and




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serves as individual and general deterrents. It is, in short, a sufficient, but not greater than

necessary sentence.

         Mr. Mirvis respectfully reserves the right to raise additional issues, if necessary, at the

time of sentencing.

Dated:          Brooklyn, New York
                September 25, 2024


                                                        Respectfully submitted,

                                                        /s/_____________________
                                                        MICHAEL HUESTON, ESQ.
                                                        DOREA SILVERMAN, ESQ.




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